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FORM 13

UNITED STATES COURT OF INTERNATIONAL TRADE
One Federal Plaza
New York, Mew York 10007

_ DISCLOSURE OF CORPORATE AFFILIATIONS
AND FINANCIAL INTEREST .

yet

This notification 1s submitted by Sidney H. Kuflik
(Name of attorney of record)

 

on behalf of The Mead Corporation

 

in the matter of The Mead Corporation

 

vy, ithe United States

 

Court No.

 

1. LT£ this statement is submitted on behalf of a corporate party,
indicate whether the party is — J] or ig not [x J a subsidiary
or affiliate of a publicly-owned corporation. If so, identify
below the parent or affiliate and describe the relationship

between the party and the parent or affiliate corporation.’

 

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2. If the action is one described in 28 U.S.C. § 1581 (a) or (b),

indicate whether the plaintiff is [|X] or is not [ J the ultimate

consignee or real party in interest. Lf not, identify below the

ultimate consignee or real party in interest.

 

 

 

3. L£ this statement is submitted on behalf of a trade association,
identify below each publicly-owned member of the trade associa-
tion. (Attach additional pages if necegsary.)

LLY May 85 1995
(Sigtiatyhe of/attorney) '  @atey
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INSTRUCTIONS FOR USE

DISCLOSURE OF CORPORATE AFFILIATIONS
AND FINANCIAL INTEREST*

1. When a corporation is a party to any action and the corporation is a
subsidiary or affiliate of any publicly-owned corporation not named in
the action, the attorney for the party shall notify the clerk of the
court in writing of the identity of the parent or affiliate
corporation and the relationship between the party and the parent or
affiliate corporation.

2. When the action is one described in 28 U.S.C. § 1581(a) or (b), the
attorney for plaintiff shall, in addition to the information required
“Gin paragraph 1, notify the clerk of the court in writing of the
identity of the ultimate consignee or real party in interest if
different from the named plaintiff.

3. When a trade association is a party to an action, the attorney for the
trade association shall notify the clerk of the court in writing of
the identity of each publicly-owned member of the trade association.

4. The notification required of a corporate party or trade association
also shal] be made by the attorney for any corporation or trade
association seeking to intervene, or appear as amicus curiae, in any
action.

 

 

5. The required notification shall be made on a Disclosure form (see
reverse side) to be provided by the clerk of the court when the first
pleading or other paper is filed by a party or when a motion to
intervene or appear as amicus curiae is filed.

 

 

*Sea generally: 28 U.S.C. § 455.

Jan. 1982

 
